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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:                             :
       Stephen C Harvey            :    Chapter 13
                                   :    Case No.: 25-10133-PMM
                         Debtor    :

                                CERTIFICATE OF SERVICE

        I, Brad J. Sadek, Esq., hereby certify that on the date indicated below a true and correct
copy of the Debtor’s Motion to Expedite Motion to Sell Property Free and Clear of Liens and the
Order Granting Motion to Expedite Hearing electronically or by Regular U.S. Mail upon the
Debtor, the U.S. trustee, the standing chapter 13 trustee, all affected parties, and the Debtor’s
priority, secured, and unsecured creditors at the addresses listed on their proofs of claim.




Dated: April 24, 2025                                /s/ Brad J. Sadek
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